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                   IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-03665-MEH

PERFX WIRELINE SERVICES, LLC,

      Plaintiff,

v.

DYNAENERGETICS US, INC.,
DYNAENERGETICS EUROPE GMBH,
and DMC GLOBAL INC.,

      Defendant.


              DEFENDANT DMC GLOBAL INC.’S MOTION TO DISMISS
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         Defendant DMC Global Inc. (“DMC Global”) moves pursuant to Federal Rules of

Civil Procedure 12(b)(1) and 12(b)(6) to dismiss this action against it for lack of subject

matter jurisdiction and failure to state a claim upon which relief can be granted.1

    I.   INTRODUCTION

         The Court lacks subject matter jurisdiction as to DMC Global in this anticipatory

declaratory judgment action for the simple reason that DMC Global, ostensibly named as

a Defendant because it is headquartered in Broomfield, Colorado, does not have any

ownership interest in the U.S. Patent No. 10,844,697 (the “ʼ697 Patent”), which is owned

by DynaEnergetics Europe GmbH (“DynaEnergetics Europe”) and exclusively licensed to

DynaEnergetics US, Inc. (“DynaEnergetics US”). Much like a party that does not have

any ownership in a patent lacks standing to sue for infringement of that patent, a party

that does not have any rights to a patent is not the proper defendant in an action seeking

a declaratory judgment of non-infringement.       DMC Global’s only connection to this

declaratory judgment action is its relationship as the parent corporation to

DynaEnergetics Europe and DynaEnergetics US. Under established law, however, a

parent corporation does not have ownership rights in a patent that is owned by its wholly

owned subsidiaries, and Plaintiff PerfX Wireline Services, LLC (“PerfX”) does not allege

as much. Indeed, PerfX does not make any allegations regarding DMC Global’s

ownership interest in the ʼ697 Patent or its connection to the instant action other than

alleging that DynaEnergetics Europe and DynaEnergetics US are wholly-owned


1 DMC Global joins the Motion to Transfer filed this same day by Defendants
DynaEnergetics US, Inc. and DynaEnergetics Europe GmbH in the alternative that this
Motion to Dismiss is not granted.
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subsidiaries of DMC Global (Dkt. 1 ¶ 8) (which they are) and that Defendants collectively

market and sell DynaStage® perforating gun systems (id. ¶ 16) (which DMC Global does

not).

        PerfX’s declaratory judgment claim against DMC Global fails to state a claim upon

which relief can be granted for the same reason—that is, there is simply no set of facts

upon which the court could issue a declaratory judgment of non-infringement against

DMC Global when DMC Global does not have any ownership in the ʼ697 Patent. For at

least these reasons, DMC Global is not a proper party to this anticipatory declaratory

judgment action and the case against it must be dismissed.

  II.   FACTUAL BACKGROUND

        DynaEnergetics Europe and DynaEnergetics US market and sell perforating gun

systems using the registered trademark DynaStage® that incorporate technology

described and claimed in the ʼ697 Patent, which is owned by DynaEnergetics Europe and

exclusively licensed to DynaEnergetics US. Ex. A, Declaration of Michael Kuta (“Kuta

Decl.”) ¶¶ 2, 4-5. While DMC Global is the parent corporation of DynaEnergetics Europe

and DynaEnergetics US, it does not market or sell any products in the United States or

elsewhere and it does not have any ownership interest in the ʼ697 Patent. Id. ¶¶ 3, 6-8.

        On September 11, 2020, shortly after DynaEnergetics Europe received a Notice

of Allowance for the ’697 Patent, Lisa Moyles—as counsel for DynaEnergetics Europe—

sent PerfX a “DynaStage Patent Notice Letter” pursuant to Federal Rule of Evidence

408(a). Dkt. 1 ¶ 18; Dkt. 1-4 at 1 (“This firm represents DynaEnergetics Europe GmbH . . .

in intellectual property matters.”). The letter included the language of Claim 1 of the ’697


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Patent and notified PerfX that its XConnect system infringes one or more of

DynaEnergetics Europe’s patents related to the DynaStage® perforating system in an

attempt to resolve a potential dispute regarding PerfX’s infringement. Dkt. 1-4 at 4. PerfX

responded on November 18, 2020, requesting a claim chart.

        On November 25, 2020—one day after the ’697 Patent issued—Ms. Moyles, again

on behalf of DynaEnergetics Europe, sent an email to PerfX attaching a claim chart

demonstrating how PerfX’s XConnect system infringes Claim 1 of the ’697 Patent. Dkt. 1

¶ 20. Ms. Moyles further notified PerfX that DynaEnergetics Europe and DynaEnergetics

US had already filed a patent infringement suit against one of PerfX’s competitors in the

Western District of Texas and attached a copy of the complaint filed in that action, which

did not name DMC Global as a party. Id. ¶ 19.

        Rather than responding to the letters with its alleged non-infringement positions,

PerfX filed this anticipatory action in this District on December 15, 2020, seeking a

declaratory judgment of non-infringement of the same patent. PerfX’s Complaint alleges

that “PerfX has a real and imminent belief that suit will be filed against it.” Id. ¶ 26. The

Complaint does not allege that DMC Global has any ownership interest in the ʼ697 Patent

or that it received any letters or correspondence regarding PerfX’s infringement of the

ʼ697 Patent on behalf of DMC Global.

 III.   LEGAL STANDARDS

        A. Federal Rule of Civil Procedure 12(b)(1)

        A complaint must be dismissed under Rule 12(b)(1) if the court lacks subject matter

jurisdiction over a claim. Cocona, Inc. v. Sheex, Inc., 92 F. Supp. 3d 1032, 1033 (D. Colo.


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2015). In a declaratory judgment action, the court may only exercise subject matter

jurisdiction “in a case of actual controversy.” 28 U.S.C. § 2201(a). “Whether an actual

case or controversy exists so that a district court may entertain an action for a declaratory

judgment of non-infringement and/or invalidity is governed by Federal Circuit law.”

MedImmune, Inc. v. Centocor, Inc., 409 F.3d 1376, 1378 (Fed. Cir. 2005), overruled on

other grounds, MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 130-31 (2007).

       Under Federal Circuit law, a district court may exercise jurisdiction over a

declaratory judgment action for non-infringement “where a patentee asserts rights under

a patent based on certain identified ongoing or planned activity of another party, and

where that party contends that it has the right to engage in the accused activity without

license, an Article III case or controversy will arise and the party need not risk a suit for

infringement by engaging in the identified activity before seeking a declaration of its legal

rights.” SanDisk Corp. v. STMicroelectronics, Inc., 480 F.3d 1372, 1381 (Fed. Cir. 2007)

(emphasis added); see also Hewlett-Packard Co. v. Acceleron, LLC, 587 F.3d 1358, 1363

(Fed. Cir. 2009) (“[C]onduct that can be reasonably inferred as demonstrating intent to

enforce a patent can create declaratory judgment jurisdiction.”) (emphasis added).        To

support declaratory judgment jurisdiction, a plaintiff “must allege both (1) an affirmative

act by the patentee related to the enforcement of his patent rights, and (2) meaningful

preparation to conduct potentially infringing activity.” Ass’n for Molecular Pathology v.

United States Patent & Trademark Office, 689 F.3d 1303, 1318 (Fed. Cir. 2012), rev’d in

part sub nom. Ass’n for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576 (2013)

(emphasis added, citations omitted).       “The party seeking to establish declaratory


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judgment jurisdiction bears the burden of demonstrating that an Article III case or

controversy exists at the time the claim for declaratory relief is filed.” Matthews Int’l Corp.

v. Biosafe Eng’g, LLC, 695 F.3d 1322, 1328 (Fed. Cir. 2012) (citation omitted); Magpul

Indus., Corp. v. Blue Force Gear, Inc., No. 14-cv-01470-RBJ, 2014 WL 6845851, at *2

(D. Colo. Dec. 4, 2014) (citation omitted).

       B.     Federal Rule of Civil Procedure 12(b)(6)

       Federal Rule of Civil Procedure 12(b)(6) provides that a defendant may move to

dismiss a claim for “failure to state a claim upon which relief can be granted.” Fed. R.

Civ. P. 12(b)(6). “The court’s function on a Rule 12(b)(6) motion is not to weigh potential

evidence that the parties might present at trial, but to assess whether the plaintiff’s

complaint alone is legally sufficient to state a claim for which relief may be granted.”

Dubbs v. Head Start, Inc., 336 F.3d 1194, 1201 (10th Cir. 2003) (citations and quotation

marks omitted). The court will “uphold a dismissal under Rule 12(b)(6) only when it

appears that the plaintiff can prove no set of facts in support of the claims that would

entitle him to relief, accepting the well-pleaded allegations of the complaint as true and

construing them in the light most favorable to the plaintiff.” Id. (citations and quotation

marks omitted). Conclusory allegations are not sufficient to survive 12(b)(6) dismissal.

See Moffett v. Halliburton Energy Servs., Inc., 291 F.3d 1227, 1232 (10th Cir. 2002)

(citation omitted).




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 IV.    ARGUMENT

        A. The Court Must Dismiss This Action Against DMC Global Under Rule
           12(b)(1) Because This Court Lacks Subject Matter Jurisdiction Over
           PerfX’s Declaratory Judgment Claim.

        PerfX filed this anticipatory declaratory judgment action seeking a declaration of

 non-infringement against DMC Global. Because DMC Global is neither a patent owner

 nor an exclusive licensee of the ʼ697 Patent, it lacks standing to sue for patent

 infringement and therefore cannot be a defendant in this non-infringement declaratory

 judgment action.

        It is well-established that only a patent owner or an exclusive licensee has

 constitutional standing to bring a suit for patent infringement. See Sicom Sys., Ltd. v.

 Agilent Techs., Inc., 427 F.3d 971, 976 (Fed. Cir. 2005). It is also understood that a

 parent corporation does not have an ownership interest in the intellectual property owned

 by its subsidiary and therefore does not have standing to bring an infringement suit for a

 patent owned or exclusively licensed by its subsidiary on that basis alone. See GMP

 Techs., LLC v. Zicam, LLC, No. 08 C 7077, 2009 WL 5064762, at *2 (N.D. Ill. Dec. 9,

 2009); DePuy, Inc. v. Zimmer Holdings, Inc., 384 F. Supp. 2d 1237, 1238-40 (N.D. Ill.

 2005) (dismissing a patent infringement suit brought by the corporate parent of the

 patentee because it was an “entity that does not own the property right that it is suing to

 enforce”); GPS Indus., Inc. v. Altex Corp., No. 07-CV-0831-K, 2009 WL 2337921, at *2

 (N.D. Tex. July 27, 2009) (“Merely because OGSI is a wholly owned subsidiary of GPS

 does not in and of itself confer all substantial rights of the ’093 patent on GPS.”) (citing

 Dole Food Co. v. Patrickson, 538 U.S. 468, 475 (2003)). And, because “[d]eclaratory


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 noninfringement actions are mirror images of infringement suits,” “a party that lacks

 standing to bring an infringement suit is not the proper defendant to a declaratory

 noninfringement action.” GMP Techs., LLC, 2009 WL 5064762, at *2 (citing VE Holding

 Corp. v. Johnson Gas Appliance Co., 917 F.2d 1574, 1583 (Fed. Cir. 1990), Fina

 Research, S.A. v. Baroid Ltd., 141 F.3d 1479, 1481 (Fed. Cir. 1998)); see also New World

 Int’l, Inc. v. Ford Global Techs., LLC, No. 3:16-CV01112-M, 2017 WL 1078525, at *9-10

 (N.D. Tex. Mar. 22, 2017) (dismissing declaratory judgment action for lack of subject

 matter jurisdiction after the remaining defendant transferred its patent rights to another

 party).     In dismissing the defendant parent corporation, Matrixx, the court in GMP

 Technologies, LLC emphasized that “Matrixx, owning no interest in the patents at issue

 here, would have no standing to bring a patent infringement suit against GMP, and so is

 not the proper party defendant to GMP’s declaratory action.” GMP Techs., LLC, 2009

 WL 5064762, at *2.

           This anticipatory action arises from DynaEnergetics Europe’s assertions that PerfX

 infringes the ʼ697 Patent owned by DynaEnergetics Europe and exclusively licensed to

 DynaEnergetics US, not from any alleged involvement by DMC Global. Indeed, DMC

 Global did not take any “affirmative act” to enforce the ʼ697 Patent as the letter sent by

 Lisa Moyles to PerfX was on behalf of DynaEnergetics Europe, not DMC Global—nor

 could it. Like the defendant Matrixx in GMP Technologies, LLC, DMC Global does not

 have any ownership interest in the ʼ697 Patent, and PerfX’s Complaint does not allege

 that it does. Kuta Decl. ¶¶ 6-8. DMC Global’s only connection to the instant action is its

 relationship to DynaEnergetics Europe and DynaEnergetics US, which are its wholly


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 owned subsidiaries. Id. ¶ 3. But, as explained above, the parent-subsidiary corporate

 relationship is not, by itself, sufficient to confer or convey an ownership interest in a patent

 from one legal entity to the other. Just like a parent corporation does not have standing

 to sue for infringement of patents owned by its subsidiary, DMC Global cannot be sued

 for a declaration of non-infringement of a patent it does not own. Put simply, there is no

 case or controversy between DMC Global and PerfX regarding infringement of the ʼ697

 Patent and the declaratory judgment action against DMC Global must be dismissed.

        B.     The Court Must Dismiss This Action Against DMC Global Under Rule
               12(b)(6) For Failure to State a Claim.

        Separately, PerfX’s declaratory judgment claim fails to state a claim upon which

 relief can be granted for the same reason that the court lacks subject matter jurisdiction

 over DMC Global—there is no set of facts under which the court can issue a declaration

 of non-infringement against a party that does not have any ownership interest in the

 patent-at-issue. PerfX’s claim fails for the additional reason that there are no allegations

 in the Complaint regarding DMC Global’s ownership interest in the ʼ697 Patent (and it

 does not have any such interest). Nor does PerfX allege in the Complaint that the

 September 11, 2020 letter sent by Lisa Moyles to PerfX—which serves as the basis for

 PerfX’s assertion that it “has a real and imminent belief that suit will be filed against it”

 (Dkt. 1 ¶ 26)—was sent by or on behalf of DMC Global. By failing to include in the

 Complaint any allegations regarding DMC Global’s ownership of the ʼ697 Patent or

 affirmative act taken by it to enforce the ʼ697 Patent in the Complaint, PerfX’s claims

 against DMC Global are defective. Because there is no set of facts upon which relief

 could be granted, the case against DMC Global must be dismissed.

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  V.   CONCLUSION

       For the foregoing reasons, DMC Global respectfully requests that the Court grant

 this Motion to Dismiss and dismiss DMC Global from this action.

 Dated: February 12, 2021                       Respectfully submitted,

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              CERTIFICATE OF COMPLIANCE WITH D.C.COLO.LPtR 17

       I hereby certify that this brief complies with the word count requirements set forth

 in District of Colorado Local Patent Rules 17 and contains approximately 2,264 words.

                                                 s/ Jonathon D. Bergman




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                          CERTIFICATE OF SERVICE

     I hereby certify that on this 12th day of February, 2021 the foregoing
 DEFENDANT DMC GLOBAL INC.’S MOTION TO DISMISS was filed and served via
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                                          s/ Melissa Kemp
